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                            No. 23-4331
__________________________________________________________________

        IN THE UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT

       C. P., by and through his parents, Patricia Pritchard and
         Nolle Pritchard; and PATRICIA PRITCHARD, et al.,
                                                     Plaintiff-Appellee,
                                     v.
            BLUE CROSS BLUE SHIELD OF ILLINOIS,
                                                 Defendant-Appellant.
           On Appeal from the United States District Court
               for the Western District of Washington
                       No. 3:20-cv-06145-RJB
                        Hon. Robert J. Bryan


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            CORPORATE DISCLOSURE STATEMENT

     Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure,

Petitioner Blue Cross Blue Shield of Illinois, by and through its under-

signed counsel, states that it is an unincorporated division of Health

Care Service Corporation (“HCSC”); that HCSC is not publicly held; and

that no publicly held corporation owns 10% of the stock in HCSC.

     Date: April 12, 2024




                                    /s/ Robert N. Hochman
                                    Robert N. Hochman

                                    Attorney for Appellant Blue Cross Blue
                                    Shield of Illinois




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                            INTRODUCTION

     As one part of its business, Blue Cross Blue Shield of Illinois

(“BCBSIL”) performs certain administrative functions for self-insured

employer health plans. In a self-insured health plan, the employer

chooses what benefits to include and pays for covered claims. The em-

ployer sometimes hires a third-party administrator (or “TPA”) such as

BCBSIL to evaluate whether the employer’s plan covers the services

sought in claims submitted by patients or providers.

     Some self-insuring employers that use BCBSIL as a third-party ad-

ministrator have chosen to exclude from coverage certain gender-affirm-

ing medical services used as treatments for gender dysphoria, sometimes

for religious reasons. The exclusions vary in design and scope, but all of

the exclusions are in the plans because the employers chose them. TPAs

such as BCBSIL cannot and do not dictate the design, including the scope

of coverage, for their self-insured customers’ plans.

     In a first-of-its-kind ruling, the district court has ordered BCBSIL

to administer the health plans of its customers in a manner that contra-

dicts the unambiguous terms of those plans. Applying Section 1557 of the

Affordable Care Act, which forbids discrimination by certain recipients of
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federal funds, the district court concluded that BCBSIL discriminated on

the basis of sex when it followed the terms of its customers’ plans to deny

claims for gender-affirming care services that BCBSIL’s customers had

excluded from coverage. The court has thus ordered BCBSIL to adminis-

ter its customers’ health plans as if they did not exclude coverage for gen-

der-affirming care. That judgment applies even if the customer is a reli-

gious institution that chose the exclusion for reasons of religious con-

science.

     The trial court’s novel ruling thus places three significant federal

statutes at odds with each other: the Employee Retirement Income Secu-

rity Act, the Religious Freedom Restoration Act, and Section 1557.

ERISA expressly imposes a fiduciary duty on TPAs to administer the

plan “in accordance” with its language. 29 U.S.C. § 1104(a)(1)(D). RFRA

prevents the application of federal law in a manner that substantially

burdens a person’s exercise of religion. 42 U.S.C. § 2000bb-1. And Section

1557 is a nondiscrimination statute that implies a private cause of action

against only a “health program or activity … receiving Federal financial

assistance.” Id. § 18116(a).




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      In truth, these three statutes and their salutary purposes can be

readily harmonized. The court-created discord between them is unneces-

sary. It is neither a valid nor intuitive application of the law. Indeed,

HHS regulations with the force of law have successfully reconciled all

three statutes.

      There are several ways to interpret and apply the three statutes so

that Section 1557 can effectively deter discrimination, and TPAs can

faithfully discharge their duties under ERISA, and RFRA can protect

free exercise of religion.

          For starters, TPA operations (including BCBSIL) are not a

            “health program or activity” subject to Section 1557 because

            they receive no federal funds. Since Section 1557 does not ap-

            ply to these operations, it cannot require that TPAs deviate

            from their duties under ERISA.

          Likewise, as federal regulations spell out, TPAs discharging

            their fiduciary duties under ERISA are not subject to Section

            1557 liability so long as the allegedly discriminatory policy

            “did not originate with the third-party administrator.” Non-

            discrimination in Health Programs and Activities, 87 Fed.



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            Reg. 47,824, 47,877 (Aug. 4, 2022). This approach follows nat-

            urally from Section 1557, which allows a cause of action only

            against intentional discriminators, does not allow agency

            principles to assign vicarious liability, and must be construed

            to avoid any unnecessary conflict with ERISA’s fiduciary du-

            ties.

          In addition, RFRA affirmatively creates an exemption from

            any application of Section 1557 that violated a plan sponsor’s

            religious conscience—that exemption protects many of

            BCBSIL’s customers.

      The district court chose none of these options. Instead, the court’s

interpretation of the statutes is rife with errors. It ignored a readily avail-

able harmonious reading of all the implicated federal statutes that ex-

cluded BCBSIL from liability for faithfully applying the coverage deci-

sions of its customers. It strained to read BCBSIL as covered by a statute

that applies only to programs receiving federal funds, even though it is

undisputed that BCBSIL’s TPA operations receive no federal funds. And

it ignored RFRA entirely based on the false premise that RFRA does not

apply in any cases between private parties. These errors of statutory



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construction resulted in an interpretation at odds with binding regula-

tions promulgated by three successive administrations. For these and

other reasons, the judgment of the district court should be reversed.

                  JURISDICTIONAL STATEMENT

     The district court had jurisdiction over this case because plaintiffs

raise claims under Section 1557 of the Affordable Care Act, 42 U.S.C.

§ 18116. See 28 U.S.C. § 1331. This court has jurisdiction over the district

court’s December 20, 2023, order granting plaintiffs injunctive relief. 1-

ER-7–28; see 28 U.S.C. § 1292(a)(1). Defendant BCBSIL filed its notice of

appeal on December 20, 2023. 8-ER-1839–41. The appeal is therefore

timely. See Fed. R. App. P. 4(a)(1)(A).

                          ISSUES PRESENTED

     1. Whether a third-party administrator that did not design an al-

        legedly discriminatory ERISA plan exclusion and owes a fiduci-

        ary duty to apply the plan exclusion as written can be sued under

        Section 1557 for faithfully administering the plan.

     2. Whether an insurer’s third-party-administrator operations,

        which receive no federal funding, are subject to Section 1557 as




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          a “health program or activity, any part of which is receiving Fed-

          eral financial assistance.” 42 U.S.C. § 18116(a).

     3. Whether, when the plan sponsor has a religious objection to

          funding gender-affirming care, the Religious Freedom Restora-

          tion Act permits a generally applicable federal law to require a

          third-party administrator to ignore the self-funded plan’s exclu-

          sion of such care.

     4. Whether a plan that covers certain treatments when prescribed

          for some conditions but does not cover those treatments if pre-

          scribed for gender dysphoria (no matter the sex or gender iden-

          tity of the patient) constitutes discrimination “on the basis of

          sex.”

          STATUTORY AND REGULATORY AUTHORITIES

     All relevant statutory and regulatory authorities appear in the Ad-

dendum to this brief.

                      STATEMENT OF THE CASE

     A.     BCBSIL’s Third-Party Administrator Business

     Instead of paying premiums to a health insurer that assumes finan-

cial responsibility for the health care costs of employees and their



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dependents, an employer can choose to sponsor a self-insured plan that

assumes responsibility for those costs. 5-ER-1118. A self-insuring em-

ployer (called a “plan sponsor”) often hires a third-party administrator to

perform specified administrative tasks necessary to implement the plan.

TPAs may assemble a network of providers, process claims, and handle

various other administrative tasks, including communicating the self-in-

sured plan’s benefit decisions to plan beneficiaries. ERISA expressly re-

quires the TPA performing these functions on behalf of the plan to follow

the terms of the plan chosen by the employer. See 29 U.S.C. §

1104(a)(1)(D).

     BCBSIL, a division of Health Care Service Corporation, is a health

insurer that offers employers and individuals a wide variety of products,

including TPA services. BCBSIL receives Federal financial assistance for

its “Medicare supplemental coverage, Medicaid, Medicare Advantage and

Prescription Drug insurance coverage, and Medicare/Medicaid dual eli-

gibility.” 1-ER-59 (citation omitted). It does not receive Federal financial

assistance for its TPA activities. Id.; see also 6-ER-1315–16.

     As a general matter, plan sponsors “design their own coverage,”

meaning that the plan sponsor will choose “what it will cover for



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employees.” 5-ER-1118. Plan sponsors “can add or remove any benefits

that they wish” and plan sponsors can “customize” the precise language

governing those benefits. 7-ER-1527–28.

     A typical plan will have a general exclusion of all services that are

not “medically necessary” under the circumstances. 6-ER-1199. In addi-

tion, plan sponsors may choose to exclude from coverage many categories

of health services. It is common, for instance, to exclude vision examina-

tions and standard dental services. E.g., 6-ER-1180–82. Plans also com-

monly exclude services that are merely ancillary to medical treatment,

like “Personal Hygiene, Comfort, and Convenience Items.” 6-ER-1181; 7-

ER-1664. Some plan sponsors exclude certain medical services because

they are too expensive or beneficiaries do not expect them. For example,

a plan may exclude from coverage elective cosmetic surgery, hearing aids,

kerato-refractive (Lasik) eye surgery, or weight loss prescription drugs.

E.g., 6-ER-1180–82; 7-ER-1664–66. Sometimes the plan sponsor opts to

exclude certain treatments for reasons of religious conscience, such as

abortions in non-life threatening situations, sterilization procedures, and

certain contraceptives and abortifacients. E.g., 6-ER-1180–82.




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     B.    BCBSIL Applies Plan Exclusions to C.P.’s Claims for
           Puberty Blocker and Mastectomy.

     This case was originally brought by a single named plaintiff, C.P.,

a transgender male who was a member of an ERISA-governed health

plan designed and sponsored by CommonSpirit Health, formerly Catholic

Health Initiatives (“CHI”). CHI contracted with BCBSIL to perform cer-

tain TPA services for the CHI Plan. See 8-ER-1758–1805.

     In 2016, when he was ten years old, C.P.’s doctor diagnosed him

with gender dysphoria, which is defined as an “incongruence” between

one’s gender identity and the sex one was assigned at birth that results

in a “feeling of clinically significant stress and discomfort.” 1-ER-59. The

doctor prescribed a Vantas implant to treat his dysphoria. Id.

     Surgically implanted beneath the skin, Vantas is one means of de-

livering the drug Histrelin, which causes the pituitary gland to secrete

less of the luteinizing hormone (LH). 6-ER-1154. If LH is suppressed,

ovaries will not produce estrogen and testes will not produce testos-

terone. Id. Thus, Histrelin can be used as a puberty blocker. Vantas was

originally used for (and is still indicated for) the treatment of advanced

prostate cancer. Id.; 6-ER-1357; 7-ER-1423. Supprelin LA is another sur-

gically implanted means of delivering Histrelin. It was originally used


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(and is indicated for) treatment of precocious puberty. 6-ER-1154, 1357.

Use of Vantas and Supprelin LA for gender dysphoria is an “off label”

use, as the FDA has not approved these drugs for this purpose. 6-ER-

1357–58.

     As relevant here, the CHI Plan stated that “[b]enefits shall not be

provided for treatment, drugs, medicines, therapy, counseling services

and supplies for, or leading to, gender reassignment surgery.” 6-ER-1229.

CHI has explained that it chose to exclude “gender reassignment sur-

gery” from coverage because “this surgery has been determined not to

align with the teachings and doctrine of the Catholic Church.” 2-ER-205;

see also 2-ER-321 (Benefit Program Application in which CHI repre-

sented that covering “gender identity dysphoria/gender reassignment …

would violate … the Employer’s religious freedom”).

     The CHI Plan contained this exclusion solely because it is a self-

insured plan. Insurance policies offered by BCBSIL do not contain cate-

gorical exclusions of gender-affirming care. 5-ER-1033; 7-ER-1501–22.

Rather, BCBSIL’s own policies will cover gender-affirming care so long

as it meets all general criteria for coverage, such as medical necessity. 7-

ER-1501–22. Moreover, when plan sponsors design a plan from scratch



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and ask for technical assistance from BCBSIL, BCBSIL provides them

with a template that does not exclude gender-affirming care. See 7-ER-

1609. Plan sponsors must affirmatively decide to exclude such services.

     Claims for benefits under a health plan typically include both a di-

agnosis code that conveys the particular condition being treated and a

procedure or “service” code that identifies the treatment. To administer

the CHI Plan’s exclusion of “treatment, drugs, therapy, counseling ser-

vices and supplies for, or leading to, gender reassignment surgery,”

BCBSIL looks at both codes. First, BCBSIL identifies claims submitted

with a diagnosis code for “gender dysphoria.” 7-ER-1533–35; 8-ER-1715–

16; see also 7-ER-1538–40. Then, BCBSIL denies claims with that diag-

nosis code if the procedure code fits the services described in the plan

exclusion. 7-ER-1533–35, 1539. BCBSIL does not look at or otherwise

take account of the patient’s biographical information, such as sex and

sex assigned at birth. And like other exclusions of gender-affirming care,

the CHI Plan covers hormone treatments, hysterectomies, and mastecto-

mies “when medically necessary for conditions other than gender dyspho-

ria.” 8-ER-1724; see also 3-ER-405.




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     Due to a mistake in the predetermination of benefits, C.P.’s 2016

claims for a Vantas implant were paid, despite the fact that the CHI Plan

excluded the claims from its coverage. 2-ER-145–46, 148. A Vantas pu-

berty blocker, which must be surgically implanted if prescribed to treat

gender dysphoria, was excluded from coverage under the CHI Plan be-

cause it is a type of “treatment, drugs, therapy, counseling services and

supplies for, or leading to, gender reassignment surgery.” 6-ER-1229.

     After catching the mistake, BCBSIL informed C.P. and his family

in April 2017 that “any future claims” for such benefits would “not be

covered as stated in the plan.” 6-ER-1162. C.P.’s family appealed that

decision, arguing that such services should have been covered under the

Plan’s terms. After an Appeals Specialist at BCBSIL reviewed the ap-

peal, BCBSIL determined that its letter to C.P. was correct: the Vantas

implant was not covered under the terms of the CHI Plan. 2-ER-169–71.

     Used as a puberty blocker, a Vantas implant will typically last three

to five years. 6-ER-1154. Consequently, in 2019, when C.P. was fourteen

years old, he required a new Vantas implant. Around the same time, C.P.

found a surgeon willing to perform a complete bilateral mastectomy to

treat the dysphoria. 6-ER-1385.



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     C.P. thus submitted a preauthorization request to the CHI Plan for

a new Vantas and a total mastectomy. As it had explained it would,

BCBSIL denied the request due to the CHI Plan’s categorical exclusion

of “treatment, drugs, therapy, counseling services and supplies for, or

leading to, gender reassignment surgery.” 1-ER-59; 6-ER-1229; 6-ER-

1306; 6-ER-1310. Thus, using her own funds, C.P.’s mother paid

$12,122.50 for the surgery and puberty blocker. 1-ER-60.

     BCBSIL has at some point during the period relevant to this litiga-

tion administered 398 ERISA self-insured plans with some form of an

exclusion related to gender dysphoria, but the plans vary widely in the

services excluded. Some plans exclude all such services, while others ex-

clude only certain services or limit certain services to specific diagnoses

and clinical situations. See 5-ER-1083–92. For example, some plans ex-

clude “gender reassignment surgery” but cover hormonal treatments for

gender dysphoria. Other plans cover such surgery only for adults who

meet particular treatment criteria, like having twelve months of success-

ful hormone therapy and twelve months of successful real-life experience

in their new gender. Others exclude from coverage only the “reversal of

gender reassignment surgery.” 5-ER-1088 (emphasis added).



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     C.    Regulatory Background

     Section 1557 of the Affordable Care Act provides that

     an individual shall not, on the ground prohibited under title
     VI of the Civil Rights Act of 1964, title IX of the Education
     Amendments of 1972, the Age Discrimination Act of 1975, or
     section 794 of Title 29, be excluded from participation in, be
     denied the benefits of, or be subjected to discrimination under,
     any health program or activity, any part of which is receiving
     Federal financial assistance.

42 U.S.C. § 18116(a) (citations omitted). Title IX prohibits discrimination

“on the basis of sex.” 20 U.S.C. § 1681. Section 1557 grants the Secretary

of Health and Human Services the authority to “promulgate regulations

to implement this section.” 42 U.S.C. § 18116(c).

     Since Section 1557 became law in 2010, multiple administrations

have issued rules that establish how Section 1557 applies (if at all) to

health insurers, to TPAs, to plans sponsored by religious employers, and

to exclusions related to gender-affirming care, among other issues. Three

successive presidential administrations have made clear that TPAs are

not liable for any “discrimination” in the design of a self-insured plan.

     First, in 2016, the Obama administration’s HHS prohibited “cate-

gorical coverage exclusion[s] or limitation[s] for all health services re-

lated to gender transition.” Nondiscrimination in Health Programs and

Activities, 81 Fed. Reg. 31,375, 31,472 (May 18, 2016). However, HHS

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recognized “that third party administrators are generally not responsible

for the benefit design of the self-insured plans they administer and that

ERISA … requires plans to be administered consistent with their terms.”

Id. at 31,432. HHS thus determined that a TPA’s liability would depend

on “whether responsibility for the decision or other action alleged to be

discriminatory rests with the employer or with the third party adminis-

trator.” Id. Where “the alleged discrimination relates to the benefit de-

sign of a self-insured plan—for example, where a plan excludes coverage

for all health services related to gender transition”—only the employer

could be liable, not the TPA. Id. (emphasis added). A district court later

vacated other portions of the 2016 Rule, based in part on religious-liberty

grounds. See Franciscan All., Inc. v. Azar, 414 F. Supp. 3d 928, 941, 944,

947 (N.D. Tex. 2019).1




1 Another injunction in a case initially brought under the 2016 Rule pro-

hibits HHS from interpreting or enforcing Section 1557 in a manner that
would require various Catholic organizations—or “any insurers or third-
party administrators” of those organizations—to “perform or provide in-
surance coverage for gender-transition procedures.” Religious Sisters of
Mercy v. Cochran, No. 3:16-CV-00386, 2021 WL 1574628, at *1-2 (D.N.D.
Feb. 19, 2021), aff’d in part, remanded in part on other grounds sub nom.
Religious Sisters of Mercy v. Becerra, 55 F.4th 583 (8th Cir. 2022).


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     The Trump administration repealed the 2016 Rule and issued its

own. See Nondiscrimination in Health and Health Education Programs

or Activities, 85 Fed. Reg. 37,160 (June 19, 2020) (“2020 Rule”). That rule

eliminated the 2016 Rule’s definition of “on the basis of sex” and removed

the prohibition on categorical coverage exclusions related to gender tran-

sition. See id. at 37,177–92. In addition, the 2020 Rule determined that

Section 1557 applies to “all of the operations of entities principally en-

gaged in the business of providing healthcare that receive Federal finan-

cial assistance.” Id. at 37,244. However, “an entity principally or other-

wise engaged in the business of providing health insurance” is not a

“health program or activity” in its entirety and thus Section 1557 applies

to a health insurer’s operations “only to the extent any such operation

receives Federal financial assistance.” Id. at 37,172, 37,244–45 (empha-

sis added); see also id. at 37,173 (“[A] health insurer is principally en-

gaged in the business of providing coverage for benefits consisting in

healthcare, which is not the same as the business of providing

healthcare.”). Finally, HHS codified regulatory language forbidding any

application of Section 1557 that “would violate, depart from, or




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contradict” the Religious Freedom Restoration Act. Id. at 37,245 (codified

at 45 C.F.R. § 92.6(b)); see also id. at 37,207.

      The 2020 Rule remains largely in effect. After the Supreme Court

issued its landmark decision in Bostock v. Clayton County, 590 U.S. 644

(2020), however, several district courts issued nationwide injunctions

preventing HHS from enforcing aspects of the Rule. See Whitman-Walker

Clinic, Inc. v. HHS, 485 F. Supp. 3d 1, 64 (D.D.C. 2020) (enjoining HHS

from enforcing the repeal of the 2016 Rule’s definition of discrimination

“on the basis of sex” insofar as it includes discrimination on the basis of

sex stereotyping and from enforcing the 2020 Rule’s incorporation of the

religious exemption contained in Title IX); Walker v. Azar, 480 F. Supp.

3d 417, 430 (E.D.N.Y. 2020) (enjoining repeal of the 2016 Rule’s definition

of discrimination “on the basis of sex”); see also Notification of Interpre-

tation and Enforcement of Section 1557, 86 Fed. Reg. 27,984 (May 25,

2021) (guidance explaining how HHS would construe the 2020 Rule in

light of Bostock).

      The Biden administration has proposed (but has not finalized) a

rule substantially similar to the 2016 Rule. The proposal would again

prohibit “categorical coverage exclusion[s] or limitation for all health



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services related to gender transition or other gender-affirming care,” and

would again define the term “health program or activity” in Section 1557

to include all the operations of a health insurer. 87 Fed. Reg. at 47,871,

47,912. Like the Obama administration, the Biden administration’s rule

clarifies that TPAs are exempt from liability if “the alleged discrimina-

tion relates to the benefit design of a self-insured group health plan that

did not originate with the third-party administrator, but rather with the

plan sponsor.” Id. at 47,877.

     D.    This Suit

     C.P. brought suit against BCBSIL under Section 1557’s implied pri-

vate cause of action. 2-ER-138–41; 8-ER-1883–85. Choosing to sue

BCBSIL alone and not CHI, the plan sponsor, C.P. alleged that BCBSIL’s

denial of his claim for coverage of a Vantas implant and mastectomy—a

denial pursuant to the CHI Plan’s exclusion—constitutes discrimination

by BCBSIL “on the basis of sex” prohibited by Section 1557. 2-ER-140.

C.P. requested a declaratory judgment stating the BCBSIL was in vio-

lation of C.P.’s rights under Section 1557, an injunction prohibiting

BCBSIL from applying the CHI Plan’s exclusion of certain care for gen-

der dysphoria, damages, attorney’s fees, and costs. 8-ER-1885–86.



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       A year into this litigation, C.P. converted the case into a purported

class action, moved for class certification under Federal Rules of Civil

Procedure 23(b)(1) and (b)(2), and, over BCBSIL’s objection, was granted

class certification. The class ultimately was defined to include those

who:

       (1)   have been, are, or will be participants or beneficiaries
             in an ERISA self-funded “group health plan” (as de-
             fined in 29 U.S.C. § 1167(1)) administered by [BCBSIL]
             during the Class Period and that contains a categorical
             exclusion of some or all Gender-Affirming Health Care
             services; and

       (2)   were denied pre-authorization or coverage of treatment
             solely based on an exclusion of some or all Gender-Af-
             firming Health Care services; and/or

       (3)   are or will be denied pre-authorization or coverage of
             treatment solely based on an exclusion of some or all
             Gender-Affirming Health Care services.

1-ER-55. In addition to expanding the scope of the prospective injunction

sought by the original complaint, the class action complaint sought a ret-

rospective injunction that would require BCBSIL to reprocess all class

members’ claims that had been denied pursuant to a gender-affirming-

care exclusion. 2-ER-141–42.

       The district court decided the merits on cross-motions for summary

judgment. As a threshold matter, the district court found that BCBSIL’s


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TPA activities “constitute the operation of a ‘health program or activity’”

and thus fell within the scope of Section 1557. 1-ER-66. It was undisputed

that BCBSIL receives no federal funding for its TPA activities. And it was

also undisputed that BCBSIL provides no healthcare services itself; it ad-

ministers insurance coverage that pays for healthcare services offered by

healthcare providers. Nonetheless, and contrary to HHS’s 2020 rule, the

district court declared that the “plain language” of Section 1557 includes

TPAs and so the regulations were immaterial. 1-ER-70–71.

     Next, the district court concluded that BCBSIL’s administration of

the plan exclusion was “discrimination ‘on the basis of sex’ contrary to

Section 1557.” 1-ER-68. The district court reached this conclusion by first

deciding, based on the Supreme Court’s decision in Bostock, that “Section

1557 forbids sex discrimination based on transgender status.” 1-ER-67.

And, according to the district court, the CHI Plan exclusion discriminated

“based on transgender status,” because “the trigger for application of the

Exclusion and a denial of coverage was a diagnosis of ‘gender dysphoria.’”

Id. The district court thus concluded that Plaintiffs had proved all the

elements of a Section 1557 claim.

     The district court then concluded that BCBSIL could be held liable



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even though it did not choose to have the exclusion in any of the plans. In

the district court’s view, and contrary to the consistent view of HHS since

Section 1557 was enacted, it did not matter whether BCBSIL or one of its

customers decided to add the exclusions to the plan. Even though BCBSIL

had argued that ERISA and Section 1557 should be construed to avoid

conflict, the district court conceived of that defense as premised on the

notion that ERISA “supplant[s] Section 1557’s antidiscrimination provi-

sions.” 1-ER-72. So the district court instead adopted the radically oppo-

site notion: that Section 1557 supplants ERISA. 1-ER-72–73.

     Finally, the district court concluded that RFRA applies only where

the government is a party to the suit, nullifying RFRA’s protection of

CHI’s choices about the scope of benefits. 1-ER-74–75. The parties then

briefed the issue of what remedies the court should order.

     On September 21, 2023, after proceedings in the district court had

nearly concluded, Plaintiffs informed the district court that C.P. was no

longer a member of the CHI Plan. 2-ER-293–306. In an attempt to pre-

serve standing to seek prospective relief, Plaintiffs’ counsel added two

new named plaintiffs, Emmett Jones and S.L. Id.; 2-ER-242–44.




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     Jones is a transgender man and a member of the CHI Plan. 1-ER-

36, 2-ER-262–63. He paid for chest surgery out-of-pocket and then sub-

mitted a claim for reimbursement to the CHI Plan, which BCBSIL de-

nied. 1-ER-36, 2-ER-263–64. Though Jones blames the plan exclusion,

Jones’s claims were denied for other reasons. 2-ER-257; 2-ER-135.

     S.L. is a twelve-year-old transgender female who belongs to a dif-

ferent self-insured health plan that excludes some gender-affirming care

services. 1-ER-34, 2-ER-265–67; see also 2-ER-250 (relevant exclusion).

Her provider requested pre-authorization for puberty-blocking hor-

mones, which BCBSIL denied pursuant to the exclusion in her plan. 1-

ER-34, 2-ER-266–67.

     On December 19, 2023,2 the district court permanently enjoined

BCBSIL, along with “its agents, employees, [and] successors,” from “ad-

ministering or enforcing exclusions … of ‘gender-affirming health care’”

in any self-insured health plans. 1-ER-27. The court’s order defines


2 The case was held in abeyance pending the Ninth Circuit’s decision in

Wit v. United Behavioral Health, 79 F.4th 1068 (9th Cir. 2023), which
was relevant to the question of whether, and under what circumstances,
the district court could order a class-wide reprocessing of class members’
claims. 2-ER-307–09. After the mandate issued in Wit, the district court
ruled on remaining remedial questions, including the injunction chal-
lenged here.

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“gender-affirming health care” as “any health care service—physical,

mental, or otherwise—administered or prescribed for the treatment of

gender dysphoria” or “related diagnoses.” 1-ER-25. The injunction also

requires BCBSIL to reprocess the claims of any class members if

BCBSIL had previously denied those claims “based solely on the exclu-

sions of gender-affirming health care services.” 1-ER-27. BCBSIL timely

appealed one day later. 8-ER-1839–41.

     At BCBSIL’s request, the district court on January 22, 2024, stayed

its injunction pending this appeal. 2-ER-57. Applying the stay factors, the

district court acknowledged that the injunction would “substantially” and

irreparably alter how BCBSIL processes claims and that a stay would al-

low the Ninth Circuit to “resolve the difficult issues raised by this case.”

2-ER-99, 100. As to BCBSIL’s likelihood of success on the merits, the dis-

trict court explained that, although the court was “satisfied with the many

rulings made in this case,” BCBSIL had nonetheless raised “substantial

and serious legal questions … on many critical issues decided in the case.”

2-ER-98.




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                  SUMMARY OF THE ARGUMENT

     ERISA requires BCBSIL to apply the written terms of its self-in-

sured customers’ ERISA plans. Here, that meant that ERISA required

BCBSIL—which covers gender-affirming medical services when it is the

insurer—to deny claims for gender-affirming services as instructed by

the written terms of its customers’ plans. Plaintiffs claim that these ex-

clusions facially discriminate on the basis of sex. For strategic reasons,

Plaintiffs chose not to bring suit against the employers and plan sponsors

who chose to exclude the services (and whose RFRA rights were directly

at stake). They sued only the plans’ third-party administrator, BCBSIL.

     The district court blessed that maneuver and entered summary

judgment for the Plaintiffs. That ruling is based on a variety of legal er-

rors, any one of which requires reversal here.

     First, as a matter of law, the customer chooses what to include in

the plan and ERISA stipulates that BCBSIL owes a duty to administer

the plan as written. Plaintiffs sue under Section 1557’s implied private

cause of action against sex discrimination, but that cause of action does

not lie against a TPA merely discharging its limited fiduciary duties un-

der ERISA. Section 1557 provides a cause of action only against



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intentional discrimination, and here BCBSIL lacked discriminatory in-

tent. Further, in the analogous Title IX context, Supreme Court prece-

dent forbids the use of agency principles to make fiduciaries and inter-

mediaries vicariously liable for the misconduct of principals. And HHS

rules with the force of law have consistently acknowledged that TPAs are

not liable when the allegedly discriminatory policy “did not originate with

the third party administrator.” 87 Fed. Reg. at 47,877. The district court

erred not only by disregarding these limits on Section 1557 liability but

also by interpreting Section 1557’s implied cause of action so that it con-

flicts with and displaces applicable provisions of ERISA.

     Second, Section 1557 does not apply to BCBSIL’s TPA operations.

Section 1557 applies to a “health program or activity, any part of which

is receiving Federal financial assistance.” 42 U.S.C. § 18116(a). And the

relevant “health program or activity” is the discrete operation of BCBSIL,

not the company as a whole. The legal term-of-art “program or activity”

is expressly defined in the Civil Rights Restoration Act, see 20 U.S.C.

§ 1687, and that definition has been transplanted into Section 1557 by

binding HHS Rules, see 45 C.F.R. § 92.3. As the CRRA and HHS Rules

mutually affirm, BCBSIL is not, in its entirety, a “health program or



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activity” because it does not receive federal funds as a whole and is not a

health care provider. So Section 1557 applies to BCBSIL’s operations

“only to the extent any such operation receives Federal financial assis-

tance,” 45 C.F.R. § 92.3(b), and BCBSIL’s TPA operations receive no Fed-

eral financial assistance.

     Third, the district court erred by ignoring how the Religious Free-

dom Restoration Act exempts religious customers of BCBSIL from fed-

eral laws mandating coverage of gender-affirming care. The district court

adopted an overly narrow reading of RFRA that conflicts with its text and

with guidance from the Supreme Court. Special provisions in RFRA

make clear that RFRA acts as a “super statute, displacing the normal

operation of other federal laws.” Bostock v. Clayton Cnty., 590 U.S. 644,

682 (2020). Thus, while RFRA’s cause of action has no place in a suit be-

tween private parties, RFRA nonetheless plays an important role in in-

terpreting and applying federal law, including in a Section 1557 suit be-

tween private parties.

     Finally, the district court failed to draw the necessary link between

the plan exclusions and Section 1557’s prohibition on discrimination “on

the basis of sex.” The plan sponsor’s design—and thus BCBSIL’s



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administration—of the plan exclusions depends on a medical diagnosis

and not on transgender status. That is readily illustrated by the Vantas

implant sought by C.P. The CHI Plan excluded coverage of that implant

as a treatment for gender dysphoria, but covered it as a treatment for

advanced prostate cancer, no matter the patient’s sex or gender identity.

So too with many other gender-affirming treatments that are indicated

for other medical conditions. This case is thus distinct from Bostock,

which held that employment discrimination against transgender individ-

uals is necessarily sex discrimination. While Bostock reasoned that, in

any act of employment discrimination against transgender individuals,

the discriminator varies how he or she treats an individual’s “traits or

actions” based on the individual’s sex assigned at birth, here the plans

(as administered by BCBSIL) vary treatment only on the basis of medical

diagnosis—without regard to sex assigned at birth. 590 U.S. at 659–60,

666–67.

                       STANDARD OF REVIEW

     This Court reviews de novo decisions on cross motions for summary

judgment. Cornhusker Cas. Ins. Co. v. Kachman, 553 F.3d 1187, 1191

(9th Cir. 2009). In reviewing the cross motions, this Court “must



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determine if, viewing the evidence and drawing all inferences in the light

most favorable to the non-moving party, any genuine issues of material

fact remain and whether the district court correctly applied the relevant

substantive law.” Scanlon v. Cnty. of Los Angeles, 92 F.4th 781, 796–97

(9th Cir. 2024) (internal quotation marks omitted).

                               ARGUMENT

I.   BCBSIL did not discriminate within the meaning of
     Section 1557.

     Even accepting Plaintiffs’ proposition that the exclusion of gender-

affirming care is unlawful sex discrimination, BCBSIL—a TPA that du-

tifully applied its customers’ written plans—did not engage in sex dis-

crimination and cannot be sued under Section 1557. The district court’s

conclusion that a TPA can be sued for applying the plan as written finds

no support in Section 1557, runs contrary to applicable regulations with

the force of law, and creates an unnecessary conflict with ERISA. This

Court should reject that conclusion and reverse the judgment.

     A.    Plaintiffs Have Sued BCBSIL for Adhering to Fiduci-
           ary Duties Required by ERISA.

     When delegated responsibility by plan sponsors to administer

claims, BCBSIL functions in a fiduciary capacity under ERISA. King v.



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Blue Cross & Blue Shield of Ill., 871 F.3d 730, 745–46 (9th Cir. 2017). As

a limited fiduciary, BCBSIL owes duties to the plan, 29 U.S.C. § 1104,

and may be held liable for a breach of those duties, see, e.g., id. § 1132(a)

(private actions for breach), § 1132(l) (authorizing Secretary of Labor to

seek civil penalties for fiduciary’s breach). Among those fiduciary duties,

ERISA requires a TPA to administer plan claims strictly “in accordance

with the documents and instruments governing the plan.” Id.

§ 1104(a)(1)(D). Thus, when BCBSIL denied Plaintiffs’ claims for gender-

affirming care services pursuant to the relevant exclusions, it was satis-

fying its fiduciary obligation to administer the plan “in accordance with

the documents and instruments” containing exclusions of gender-affirm-

ing care. See Heimeshoff v. Hartford Life & Accident Ins. Co., 571 U.S.

99, 108 (2013) (noting “the particular importance of enforcing plan terms

as written”). BCBSIL administered these exclusions as it would have ad-

ministered any other exclusion: in strict compliance with its contractual

and fiduciary duties to apply the plan as written.

     Plan sponsors—not the TPA—have the ultimate authority over the

content of the documents and instruments governing the plan. 29 U.S.C.

§ 1002(16)(B). “Employers or other plan sponsors are generally free



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under ERISA, for any reason at any time, to adopt, modify, or terminate

welfare plans.” Curtiss-Wright Corp. v. Schoonejongen, 514 U.S. 73, 78

(1995). Consistent with that authority, TPAs hold their position at the

will of the plan sponsor. 29 U.S.C. § 1102(a). In addition, every ERISA

plan has a procedure for amending the plan and identifies “the persons

who have authority to amend the plan.” Id. § 1102(b)(3). Thus, BCBSIL

could not lawfully remove the exclusions for which it is being sued in this

case. See 8-ER-1769. A determination that excluded benefits were cov-

ered would have contravened BCBSIL’s obligations to the plan under

ERISA.

     Yet Plaintiffs have nonetheless chosen to challenge the written plan

exclusion by suing the TPA instead of the plan sponsors who choose what

to exclude from the plan and hold the authority to alter the terms of the

plan. Plaintiffs did not sue both the TPA and the plan sponsors. They

simply did not sue the plan sponsors at all. That distinguishes this case

from the handful of previous Section 1557 suits alleging discriminatory

terms in ERISA plans in which plaintiffs sued the plan sponsors. See,

e.g., T.S. ex rel. T.M.S. v. Heart of CarDon, LLC, 43 F.4th 737, 739 (7th

Cir. 2022); Hammons v. Univ. of Md. Med. Sys. Corp., 649 F. Supp. 3d



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104, 111–17 (D. Md. 2023), appeal filed, No. 23-1452 (4th Cir. Apr. 26,

2023); Kadel v. Folwell, 620 F. Supp. 3d 339, 388 (M.D.N.C. 2022). Plain-

tiffs’ class action suit targeted solely at a TPA is completely unprece-

dented.

     As Plaintiffs have acknowledged, Plaintiffs’ decision to sue the TPA

set up a conflict between ERISA and Section 1557, the nondiscrimination

statute that is the basis of their action. ERISA imposes on TPAs a duty

to resolve claims “in accordance with the documents and instruments

governing the plan.” 29 U.S.C. § 1104(a)(1)(D). There is no dispute here

that the terms of the plans require denial of the relevant claims. Plain-

tiffs instead contend that TPAs merely discharging their fiduciary duties

can nonetheless be sued under Section 1557 for discriminatory terms in

the ERISA plan because the conflict they created between ERISA and

Section 1557 must be settled in favor of Section 1557. See, e.g., 5-ER-

1020. The district court agreed. 1-ER-72.

     The Plaintiffs and the district court erred by not pausing to see

whether the alleged conflict between Section 1557 and ERISA could be

avoided. They ignored the “well established axiom of statutory construc-

tion that, whenever possible, a court should interpret two seemingly



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inconsistent statutes to avoid a potential conflict.” Cal. ex rel. Sacra-

mento Metro. Air Quality Mgmt. Dist. v. United States, 215 F.3d 1005,

1012 (9th Cir. 2000) (emphasis added); see also Momeni v. Chertoff, 521

F.3d 1094, 1097 (9th Cir. 2008) (“Where an appellate court can construe

two statutes so that they conflict, or so that they can be reconciled and

both can be applied, it is obliged to reconcile them.”).

     Fortunately, there is no basis for finding ERISA and Section 1557

irreconcilable and there are clear bases for an interpretation that avoids

any conflict. As discussed below, Section 1557 implies a private right of

action with a limited scope. Like the implied right of action under Title

IX, a Section 1557 sex-discrimination action lies only against intentional

discriminators. See infra Section I.B.1. And, unlike Title VII actions, a

Section 1557 sex-discrimination action cannot be brought against mere

agents or intermediaries of the discriminator. See infra Section I.B.2.

Those limitations have been made binding by the last three administra-

tions’ regulations. See infra Section I.B.3.




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     B.    Section 1557 Does Not Make BCBSIL Liable for Its Ap-
           plication of the Clear Written Terms of the ERISA
           Plan.

     Section 1557 makes unlawful the denial of individual benefits or

discrimination “on the ground prohibited” by any of four civil rights stat-

utes, including Title IX, which prohibits discrimination “on the basis of

sex.” 42 U.S.C. § 18116(a); 20 U.S.C. § 1681. Section 1557 also incorpo-

rates the “enforcement mechanisms provided for and available” under

those civil rights statutes. 42 U.S.C. § 18116(a).

     Here, because Plaintiffs allege discrimination “on the basis of sex,”

the relevant enforcement mechanisms are those under Title IX. See Doe

v. CVS Pharmacy, Inc., 982 F.3d 1204, 1208–10 (9th Cir. 2020). Specifi-

cally, Plaintiffs sue under Title IX’s implied right of action as incorpo-

rated in Section 1557. Cf. Cannon v. Univ. of Chi., 441 U.S. 677, 703

(1979) (finding Title IX implies private right of action). There are multi-

ple independent and mutually reinforcing reasons why that implied right

of action does not lie against a TPA that merely discharged its fiduciary

duties. That right of action thus does not conflict with ERISA.




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           1.    Section 1557 Implies a Cause of Action Against
                 Only Intentional Discrimination.

     Title IX and Section 1557’s implied right of action authorizes suits

only for “intentional sex discrimination.” Jackson v. Birmingham Bd. of

Educ., 544 U.S. 167, 173 (2005); Schmitt v. Kaiser Found. Health Plan of

Wash., 965 F.3d 945, 954 (9th Cir. 2020). At no point did Plaintiffs prove

or did the district court conclude that BCBSIL had any discriminatory

intent. Nor did the district court conclude that BCBSIL intentionally

caused the plans to exclude gender-affirming care. To the contrary,

BCBSIL adopted the facially neutral posture that it would, consistent

with its duties under ERISA, apply the terms of the plans as written.

According to the district court, BCBSIL’s neutral policy was grounds

enough for liability: “[T]hird party administrators can be liable under

Section 1557 based on discriminatory terms in a self-funded plan” even

where the plan sponsor “maintained control over its terms.” 1-ER-73.

     That was error. Even where a defendant’s facially neutral policy

has a clear disparate impact, that disparate impact cannot give rise to

liability under Title VI, Title IX, or in the parallel Section 1557 actions.

See Alexander v. Sandoval, 532 U.S. 275, 280 (2001) (Title VI); Horner v.

Ky. High Sch. Athletic Ass’n, 206 F.3d 685, 692 (6th Cir. 2000) (Title IX);


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Cannon v. Univ. of Chi., 648 F.2d 1104, 1109 (7th Cir. 1981) (Title IX).

Rather, plaintiffs must “show that some invidious or discriminatory pur-

pose underlies the policy.” The Comm. Concerning Cmty. Improvement v.

City of Modesto, 583 F.3d 690, 703 (9th Cir. 2009). Here, the Plaintiffs

did not—and could not—claim that BCBSIL adhered to its duties under

ERISA because of “some invidious or discriminatory purpose.” There is

thus no basis for Section 1557 liability.

     Plaintiffs also cannot evade the applicable limits on liability here

by arguing that Section 1557 permits a suit against a TPA for “deliberate

indifference” to the plan’s allegedly discriminatory terms. Not only is

such a theory about Section 1557 unsupported by precedent, but under

Title IX, deliberate indifference “is a fairly high standard” to meet. Ka-

rasek v. Regents of Univ. of Cal., 956 F.3d 1093, 1105 (9th Cir. 2020).

Usually invoked to hold universities or employers liable for discrimina-

tion in the form of “severe, pervasive” harassment or a hostile work envi-

ronment, a deliberate indifference claim can apply only where the defend-

ant “exercise[d] substantial control over both the harasser and the con-

text in which the known harassment occurs.” Davis ex rel. LaShonda D.

v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 645, 650 (1999). Whether the



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defendant has “substantial control” is closely related to the question of

the defendant’s ability to take remedial action. A defendant “cannot be

directly liable for its indifference where it lacks the authority to take re-

medial action.” Id. at 644.

     BCBSIL exercises no control—let alone “substantial control”—over

the allegedly discriminatory plan design. BCBSIL cannot take “remedial

action” to correct the alleged discrimination. Id. at 644–45. BCBSIL can-

not amend those plans without the involvement of the plan sponsors, see

Curtiss-Wright Corp., 514 U.S. at 78, and cannot decline to apply the

plans as written without breaching its fiduciary duties under ERISA, see

29 U.S.C. § 1104(a)(1)(D). Were BCBSIL to flout these fiduciary duties,

it would expose itself to private enforcement actions and potential civil

penalties.

             2.   BCBSIL Is Not Liable Under Agency Principles

     Title IX (and by extension Section 1557) does not authorize victims

to bring discrimination claims against the discriminator’s mere agents or

intermediaries. While Title VII explicitly defines a liable “employer” to

include “any agent,” 42 U.S.C. § 2000e(b), Title IX does not. “Title IX con-

tains no comparable reference to an educational institution’s ‘agents,’ and



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so does not expressly call for application of agency principles.” Gebser v.

Lago Vista Indep. Sch. Dist., 524 U.S. 274, 283 (1998). Because of that

lack of authorization, the Supreme Court has held that plaintiffs may not

use “agency principles to impute liability” under Title IX. Davis, 526 U.S.

at 642. An entity can be held liable under Title IX “only for its own mis-

conduct.” Id. at 640. That means Title IX and Section 1557 cannot be used

to impute an agent’s sex discrimination to a principal. E.g., Gebser, 524

U.S. at 283; Reese v. Jefferson Sch. Dist. No. 14J, 208 F.3d 736, 739–40

(9th Cir. 2000). And it also means that Title IX and Section 1557 cannot

be used to impute sex discrimination to a mere “conduit” like BCBSIL.

Bose v. Bea, 947 F.3d 983, 991 (6th Cir. 2020). Title IX, and by extension

Section 1557, target the choice to discriminate, not the obligatory execu-

tion of that choice by someone with the duty to follow legally binding in-

structions.

     The Sixth Circuit has ruled that Title IX’s absence of agency liabil-

ity excludes even a “cat’s paw” theory of liability. See id. at 989. That

theory provides that in Title VII cases, an employer with discriminatory

underlings cannot escape liability merely by claiming that it served “as a

dupe in [the underling’s] deliberate scheme to trigger a discriminatory



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employment action.” EEOC v. BCI Coca-Cola Bottling Co. of Los Angeles,

450 F.3d 476, 484 (10th Cir. 2006). The cat’s paw theory aims at ensuring

that employers, who typically divide authority among a number of

agents, will not be “effectively shielded from discriminatory acts and rec-

ommendations of” biased agents. Staub v. Proctor Hosp., 562 U.S. 411,

420 (2011). While cat’s paw liability holds principals responsible for dis-

criminatory actions set in motion by agents, Plaintiffs here seek to hold

an agent (BCBSIL) responsible for the policy of a principal (the plan spon-

sor). So, if even the cat’s paw theory of liability is beyond the scope of

Title IX, an agency theory that would extend to BCBSIL is all the more

plainly excluded by Title IX.

           3.    Legally Binding Regulations Foreclose TPA Lia-
                 bility

     Given that all the applicable legal principles point away from TPA

liability here, it should come as no surprise that HHS has consistently

adopted rules with the force of law that reject TPA liability for plan de-

sign decisions made by self-funded plan sponsors. Across all three admin-

istrations that have implemented Section 1557, HHS has taken the same

view: where TPAs are merely discharging their fiduciary duties to their

customers, they cannot be held liable under Section 1557. The 2016 Rule


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stipulated that where “the alleged discrimination relates to the benefit

design of a self-insured plan—for example, where a plan excludes cover-

age for all health services related to gender transition” HHS would con-

sider the proper defendant to be the “employer” and not the TPA. 81 Fed.

Reg. at 31,432. The 2020 Rule and currently pending proposed rule sim-

ilarly state that TPAs will not be held liable “where the alleged discrimi-

nation relates to the benefit design of a self-insured group health plan

that did not originate with the third party administrator, but rather with

the plan sponsor.” 87 Fed. Reg. at 47,877; see also 85 Fed. Reg. at 37,173.

     HHS has taken this consistent position out of a recognition that

ERISA “requires group health plans to be administered consistent with

their terms, and, therefore, third party administrators are unable to

change any discriminatory design features in the self-insured plans they

administer to comply with Section 1557’s requirements.” 87 Fed. Reg. at

47,876; see also 81 Fed. Reg. at 31,432 (“[T]hird party administrators are

generally not responsible for the benefit design of the self-insured plans

they administer.”).

     HHS’s interpretations correctly construe Section 1557 as a statute

that applies to the party actually responsible for the alleged sex



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discrimination, and not to agents acting on their behalf. The emphasis on

what HHS calls plan “design” is likewise an appropriate application of

Section 1557’s “intentional discrimination” standard. An employer’s

choice to “desig[n] its plan benefits in a discriminatory way … inherently

involves intentional conduct.” Schmitt, 965 F.3d at 954.

     Before rejecting HHS’s standard, however, the district court misap-

plied it. The district court determined that there exists a genuine factual

dispute as to “whether the [allegedly discriminatory] Plan design origi-

nated with Blue Cross.” 1-ER-73. Under the consistent view put forward

by binding HHS regulations, that material factual dispute should have

precluded summary judgment. But the district court did not actually con-

clude that there was a genuine dispute as to the person with whom the

plan design originated, meaning the person with “control” over the choice

to exclude the benefits. 87 Fed. Reg. at 47,876. That was the plan sponsor,

as it must be under ERISA. See 29 U.S.C. § 1002(16)(B); Curtiss-Wright

Corp., 514 U.S. at 78. The district court conflated the essential question

of who chose to exclude the benefits with the meaningless question of who

executed that choice by drafting technical language in a plan. See 1-ER-




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73. A TPA may assist with technical language, but the design choice is

always the plan sponsor’s.3

     C.    The District Court’s Reasons for Allowing TPA Liabil-
           ity Are Unavailing.

     The district court treated the statutory interpretation question be-

fore it as fundamentally a question of agency deference. To the district

court, BCBSIL’s liability turns essentially on whether “Chevron defer-

ence [is] owed here to the various iterations of the rules or proposed

rules,” all of which exempt a TPA from liability where the discriminatory



3 Importantly, BCBSIL is not arguing that TPA operations receiving fed-

eral funding have been granted something akin to absolute immunity
from discrimination lawsuits. For example, if such a TPA deviates from
the written terms of the plan to discriminate against a beneficiary, the
TPA will have violated both ERISA and Section 1557. For these reasons,
the regulations consider a TPA that, without instruction from the plan,
“denies a claim because the individual’s name suggests that they are of a
certain race or national origin,” and explain that such a TPA would be
liable. 87 Fed. Reg. at 47,876. In addition, the TPA otherwise subject to
Section 1557 may be held liable under Section 1557 for applying a facially
nondiscriminatory plan in a discriminatory way, such as interpreting a
“medical necessity” criterion differently for different races. The key factor
in these examples is that the discriminatory action “originated with the
third party administrator,” not the plan sponsor. Id. Here, Plaintiffs al-
lege that the plans were all “facially discriminatory on the basis of sex”—
i.e., that the discrimination is inherent to the plan. 5-ER-1035. Plaintiffs
never assert—and have no facts to support the conclusion—that BCBSIL
chose to impose the exclusions at issue, that BCBSIL departed from the
terms of the plans in a discriminatory manner, or that BCBSIL applied
any plan term in a discriminatory manner.

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terms “did not originate with the TPA.” 1-ER-72; 87 Fed. Reg. at 47,877.

The district court erred in leaping past the initial step of applying settled

principles of statutory interpretation to the relevant statutes, and then

stumbled further by misapplying the doctrines governing agency inter-

pretations of statutes.

     First, as we have explained, BCBSIL’s view is rooted in fundamen-

tal principles of statutory interpretation: Section 1557 incorporates Title

IX’s limited enforcement mechanisms, which require plaintiffs to prove

“intentional discrimination”; Title IX and Section 1557 do not provide for

agency liability; Supreme Court precedent requires that Title IX be used

to hold actors liable “for their own misconduct” and forecloses the use of

“agency principles” to assign liability; and, where possible, federal stat-

utes are to be read in harmony with each other rather than as creating

fundamentally conflicting obligations. The district court’s attention to

statutory interpretation focused only on ERISA’s requirement that “ben-

efit plan decisions are required to be made in ‘accordance with the docu-

ments and instruments governing the plan.’” 1-ER-72 (quoting 29 U.S.C.

§ 1104(a)(1)(D)). It ignored the rest.




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     Second, having ignored all the reasons not to read Section 1557 to

impose liability on TPAs as mere agents of plan sponsors’ design deci-

sions, the district court then purported to “harmoniz[e]” ERISA’s fiduci-

ary duty with its understanding that Section 1557 could apply here. Id.

But the district court did not actually harmonize these two provisions.

Instead, it determined, based on ERISA’s savings clause, 29 U.S.C.

§ 1144(d), that Section 1557 supersedes ERISA and thus fiduciary duties

must give way to Section 1557’s prohibition on intentional discrimina-

tion. The district court reasoned that, because “ERISA’s Section 1144(d)

provides that ‘[n]othing in this subchapter shall be construed to alter,

amend, modify, invalidate, impair, or supersede any law of the United

States,’ … ERISA expressly provides that it is not to be construed to im-

pair laws like Section 1557.” 1-ER-72.

     The district court’s approach runs contrary to the Supreme Court’s

“caution against applying [§ 1144(d)] too expansively.” Shaw v. Delta Air

Lines, Inc., 463 U.S. 85, 104 (1983). As the district court saw matters,

ERISA’s fiduciary duty standards are a sort of second-class federal policy,

one that yields at the first sign of conflict with any other federal statutory

requirement. That is a dangerous overreading of § 1144(d).



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     Instead, the district court should have applied the axiom of statu-

tory construction that, “when two statutes are capable of co-existence, it

is the duty of the courts, absent a clearly expressed congressional inten-

tion to the contrary, to regard each as effective.” Morton v. Mancari, 417

U.S. 535, 551 (1974) (emphasis added). But the district court not only

failed to examine whether ERISA and Section 1557 are “capable of coex-

istence”; the district court found Section 1557’s implied right of action

superseded ERISA’s express commands. Title IX’s private right of action

cannot be an “inconsistent statut[ory]” provision creating a statutory con-

flict—it is not a provision at all. Cal. ex rel. Sacramento Metro. Air Qual-

ity Mgmt. Dist., 215 F.3d at 1012; cf. Martin v. Nat’l Bank of Alaska, 828

F. Supp. 1427, 1433 (D. Alaska 1992) (“[I]f ERISA prohibits an activity

and the banking laws are silent on the point, then no conflict arises and

ERISA will apply.”).

     The district court’s haste to abandon ERISA’s policy caused it to

miss the readily available way to read both ERISA and Section 1557 har-

moniously. Indeed, that harmonious reading has been adopted by HHS

across administrations of different political orientations: Section 1557’s

implied private right of action lies only against the actor who made the



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decision to discriminate. Thus a TPA will not be held liable for the mere

discharge of its fiduciary duties and a plan sponsor will not be held liable

for a TPA’s discriminatory administration. The district court’s reflexive

decision to invoke ERISA’s savings clause when the statutes are “capable

of co-existence” was error. Morton, 417 U.S. at 551.

     Third, the district court also failed to accord adequate deference to

HHS’s expertise when it rejected HHS’s conclusion that a TPA cannot be

liable in this situation. The court determined that “no Chevron deference

[is] owed here to the various iterations of the rules or proposed rules be-

cause the statutory text is clear as is Congressional intent.” 1-ER-72. Spe-

cifically, the district court reasoned that the “statutory text is clear” be-

cause Section 1557 does not explicitly provide an “exclusion for third

party administrators who did not draft the exclusion at issue.” Id. (em-

phasis added). That has Chevron backwards. Chevron deference depends

on whether the statute is ambiguous. Chevron U.S.A., Inc. v. NRDC, Inc.,

467 U.S. 837, 842–43 (1984). An explicit exclusion for TPAs would cer-

tainly clarify the relationship between responsibility and liability under

Section 1557. But the absence of such an explicit exclusion merely fails




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to clarify Section 1557; it cannot decisively resolve Section 1557’s ambi-

guities.

      Finally, even if Chevron deference does not apply, Skidmore defer-

ence should. Skidmore v. Swift & Co., 323 U.S. 134, 140 (1944); see United

States v. Mead Corp., 533 U.S. 218, 234–35 (2001) (Skidmore applies if

Chevron does not); Pet’r’s Reply Br. at 9, Relentless, Inc. v. Dep’t of Com.,

No. 22-1219 (U.S. Oct. 2, 2023) (arguing for reversing Chevron and adopt-

ing Skidmore for all agency interpretations).

      The Skidmore factors strongly support deference to the Rules’ view

that TPAs are not liable for discrimination that does not originate with

the TPA. First, this view is “consisten[t] with earlier and later pronounce-

ments” across three distinct presidential administrations. Skidmore, 323

U.S. at 140. That consistent interpretation has been relied upon by TPAs

and plan sponsors, among others. Skidmore deference “protects reliance

interests   associated     with    longstanding       agency      practices   or

interpretations.” Goffney v. Becerra, 995 F.3d 737, 745 (9th Cir. 2021); cf.

Kisor v. Wilkie, 139 S. Ct. 2400, 2421 (2019) (plurality opinion) (“[D]efer-

ence turns on whether an agency’s interpretation creates unfair surprise

or upsets reliance interests.”). Second, the Rules’ “thoroughness” is



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“evident.” Skidmore, 323 U.S. at 140. In each rulemaking, HHS consid-

ered numerous comments on the issue and devoted columns of the Fed-

eral Register to explaining the contours (if any) of TPA liability. And fi-

nally, the Rules’ reasoning is “valid[].” Id.; see supra Section I.B.

II.   Third-Party Administered Health Insurance Plans Are Not
      Federally Funded “Health Programs or Activities” Subject
      to Section 1557.

      Section 1557’s nondiscrimination obligations apply only to a “health

program or activity, any part of which is receiving Federal financial as-

sistance.” 42 U.S.C. § 18116(a). Duly promulgated regulations define two

categories of health programs or activities receiving federal funds. First,

for “entities principally engaged in the business of providing healthcare”

and receiving federal funds, “all of the operations of [such] entities” are

considered to be health programs or activities subject to Section 1557. 45

C.F.R. § 92.3(b) (emphasis added). Second, “[f]or any entity not princi-

pally engaged in the business of providing healthcare,” the term “health

program or activity” refers “to such entity’s operations only to the extent

any such operation receives Federal financial assistance.” Id. (emphasis

added). These regulations carry the force of law, and apply in suits

brought by private parties. See, e.g., Fed. Express Corp. v. Holowecki, 552



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U.S. 389, 395, 397 (2008); Long Island Care at Home, Ltd. v. Coke, 551

U.S. 158, 165 (2007).

     The Rules clarify that BCBSIL’s third-party administrator opera-

tions are not a “health program or activity, any part of which is receiving

Federal financial assistance.” 42 U.S.C. § 18116(a). In the first place,

BCBSIL is not “principally engaged in the business of providing

healthcare.” 45 C.F.R. § 92.3(b). BCBSIL is not a health care “provider”

like a hospital or a physician group; it is primarily in the insurance busi-

ness. And, as the Rule explains, “an entity principally or otherwise en-

gaged in the business of providing health insurance shall not, by virtue

of such provision, be considered to be principally engaged in the business

of providing healthcare.” Id. § 92.3(c) (emphasis added).

     Because BCBSIL is not primarily in the business of providing

healthcare, its individual operations could constitute a “health program

or activity” subject to Section 1557 “only to the extent any such operation

receives Federal financial assistance.” 45 C.F.R. § 92.3(b). Plaintiffs do

not dispute—and the district court acknowledged—that BCBSIL does not

receive federal financial assistance for its administration of any self-

funded ERISA plans. 1-ER-59; 6-ER-1315, ¶ 3. Instead, BCBSIL receives



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federal assistance only for other aspects of its business not relevant here,

“such as Medicare supplemental coverage, Medicaid, Medicare Ad-

vantage and Prescription Drug insurance coverage, and Medicare/Medi-

caid dual eligibility.” 1-ER-59 (citation omitted). BCBSIL’s operation-spe-

cific federal funding thus does not subject its TPA operations to Section

1557.

        The Rule’s two-part definition is the most natural construction of

“health program or activity” as used in Section 1557. Though the Afford-

able Care Act never defines that phrase, at the time the ACA was passed,

“program or activity” was a “term of art with a clear meaning.” T.S. ex

rel. T.M.S., 43 F.4th at 742 (citing 20 U.S.C. § 1687). The Civil Rights

Restoration Act (“CRRA”) defines the phrase “program or activity” in Ti-

tle IX, itself the basis for Section 1557’s prohibition on sex discrimina-

tion, and in other civil rights statutes. 20 U.S.C. § 1687(3)(A)(ii); see

Doe v. Mercy Cath. Med. Ctr., 850 F.3d 545, 553 (3d Cir. 2017). Given that

Section 1557 addresses the “same subject matter” and employs the “same

… language,” its use of the term “program or activity” should be “inter-

preted consistently” with the CRRA’s and Title IX. Advanced Integrative




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Med. Sci. Inst., PLLC v. Garland, 24 F.4th 1249, 1256 (9th Cir. 2022)

(quoting Wachovia Bank v. Schmidt, 546 U.S. 303, 305 (2006)).

     Under the CRRA, there are two categories of private business that

constitute programs or activities subject to the civil rights laws. First, an

entire corporation or other entity can be a “program or activity,” but only

if federal assistance is provided to the entity “as a whole” or if the entity

“is principally engaged in the business of providing education, health

care, housing, social services, or parks and recreation.” 20 U.S.C.

§ 1687(3)(A)(i)–(ii). Second, part of a corporation can be a “program or

activity” but only the specific “plant or other comparable, geographically

separate facility to which Federal financial assistance is extended.” Id.

§ 1687(3)(B).

     The 2020 Rule neatly carried over this two-part definition into Sec-

tion 1557. Section 1557 applies only to a “health program or activity,” so,

following the CRRA, the Rule determined that Section 1557 would apply

to all the operations of a corporation if that corporation “is principally

engaged in the business of providing … health care,” the only health-re-

lated service listed in 20 U.S.C. § 1687(3)(A)(ii). Next, HHS preserved the

CRRA’s rule that a corporation engaged in any business is subject to the



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relevant civil rights statute if federal funding extends to the corporation

“as a whole,” meaning to all of an entity’s operations. See Collins v. Giv-

ing Back Fund, No. 18-cv-8812 (CM), 2019 WL 3564578, at *11 (S.D.N.Y.

Aug. 6, 2019) (“[T]he phrase ‘as a whole’ means that federal assistance is

extended to the organization otherwise than for some specific purpose –

put differently, that the recipient of federal funds received those funds as

general assistance.”); S. Rep. No. 100-64 at 17 (1987) (“Federal aid which

is limited in purpose … is not considered aid to the corporation as a

whole.”). For all other entities, the CRRA applies federal civil rights laws

only to that portion of the corporation “to which Federal financial assis-

tance is extended;” likewise, the Rule applies Section 1557 “only to the

extent any such operation receives Federal financial assistance.” 20

U.S.C. § 1687(3)(B); 45 C.F.R. § 92.3(b).

     The Rule’s explicit statement that health insurers are not “princi-

pally engaged in the business of providing healthcare” reflects common

sense. The plain meaning of “providing healthcare” does not include

providing health insurance, which is only a means to pay health care pro-

viders. See 85 Fed. Reg. at 37,173 (“[A] health insurer is principally en-

gaged in the business of providing coverage for benefits consisting in



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healthcare, which is not the same as the business of providing

healthcare.”) (emphasis added). That interpretation is consistent with

the definition of “health care” in other federal statutes. See, e.g., 5 U.S.C.

§ 5371(a) (defining “health care” to mean “direct patient-care services or

services incident to direct patient-care services”). Just as one would not

say that an auto insurer is “principally engaged in the business of provid-

ing automobiles,” a health insurer is not “principally engaged in the busi-

ness of providing health care.”

      HHS’s interpretation—which correctly interprets Section 1557’s

text—is controlling. Chevron, 467 U.S. at 842–43. But even setting Chev-

ron aside, the agency’s interpretation harmonizing Section 1557 with the

CRRA is persuasive and entitled to deference. Skidmore, 323 U.S. at 140.

Yet the district court did not see it this way. The district court found

HHS’s construction to be unambiguously foreclosed by the plain text of

Section 1557. According to the district court, “Section 1557’s phrase

‘health programs or activities’ plainly includes ‘all the operations’ of Blue

Cross including its involvement in ‘contracts of insurance.’” 1-ER-71. The

district court’s reasoning was erroneous for at least two reasons.




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     First, the district court noted that Section 1557 prohibits discrimi-

nation in “any health program or activity, any part of which is receiving

Federal financial assistance, including credits, subsidies, or contracts of

insurance.” 42 U.S.C. § 18116(a) (emphasis added). According to the dis-

trict court, “the plain language of the text includes insurance contracts

and their administration as ‘health programs or activities.’” 1-ER-70

(cleaned up). That is incorrect. The term “contracts of insurance” de-

scribes a type of “Federal financial assistance,” not a type of “health pro-

gram or activity.” See 85 Fed. Reg. at 37,172.

     This conclusion follows from the statute’s pairing of “contracts of

insurance” with “credits” and “subsidies,” which are types of “Federal fi-

nancial assistance” given to health programs and activities. Under the

canon of noscitur a sociis, “a word is known by the company it keeps” to

“avoid ascribing to one word a meaning so broad that it is inconsistent

with its accompanying words, thus giving unintended breadth to the Acts

of Congress.” Gustafson v. Alloyd Co., 513 U.S. 561, 575 (1995) (internal

quotation marks omitted). “When a word appears in a list of similar

terms, each term should be read in light of characteristics shared by the

entire list.” Maner v. Dignity Health, 9 F.4th 1114, 1123 (9th Cir. 2021).



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The statutory phrase “contracts of insurance” must be interpreted con-

sistent with the neighboring terms “credits” and “subsidies.” To read

“contracts of insurance” as a type of “health program or activity” also re-

quires reading “credits” and “subsidies” as types of health programs or

activities. Those terms are most naturally read not as types of health

programs or activities, but as types of “Federal financial assistance,” a

reading consistent with the federal regulations. See 85 Fed. Reg. at

37,172 (“The Department agrees that health programs or activities that

receive contracts of insurance from the Federal government are covered

entities under Section 1557. But this does not mean that health insurers,

as such, are health programs or activities.”).

     Moreover, qualifying phrases such as “including credits, subsidies,

or contracts of insurance” should be applied only to the last antecedent

phrase. See Am. Fed’n of Gov’t Emps., AFL-CIO Loc. 2152 v. Principi, 464

F.3d 1049, 1055 (9th Cir. 2006). Under this well-established rule, “a lim-

iting clause or phrase should ordinarily be read as modifying only the

noun or phrase that it immediately follows.” Lockhart v. United States,

577 U.S. 347, 351 (2016) (cleaned up). Here, the last antecedent is “Fed-

eral financial assistance.” It was thus error for the district court to



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conclude that “contracts of insurance” describes “any health program or

activity.”

      Second, the district court appealed to vague notions of statutory

purpose. According to the district court, the purpose of Section 1557 is “to

increase access to services and insurance coverage.” 1-ER-70. But, as its

only support for this proposition, the district court cited a dictum describ-

ing the purpose of the Affordable Care Act as a whole, not Section 1557

in particular. Id. (citing Schmitt, 965 F.3d at 949). “[G]eneral pronounce-

ments regarding the overall purpose of a complex statute do not consti-

tute conclusive evidence that Congress has ‘directly spoken’ to the mean-

ing of the ‘precise’ statutory phrase in dispute” and thus do not overcome

other tools of statutory construction, including deference. Navajo Nation

v. HHS, 285 F.3d 864, 869 (9th Cir. 2002) (quoting NRDC, Inc. v. EPA,

966 F.2d 1292, 1302 (9th Cir. 1992)), vacated on other grounds, 307 F.3d

977 (9th Cir. 2002).

      The district court’s interpretation of Section 1557 depended on

these errors. The better interpretation is the one posited by the 2020

Rule: a careful effort to define “health program or activity” as including




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categories that closely match the categories of “program and activity” de-

fined in the CRRA.

III. The District Court Wrongly Disregarded the Religious
     Freedom Restoration Act.

     Under the Religious Freedom Restoration Act, “[g]overnment shall

not substantially burden a person’s exercise of religion even if the burden

results from a rule of general applicability” like Section 1557. 42 U.S.C.

§ 2000bb-1(a). If the rule of general applicability substantially burdens a

person’s exercise of religion, RFRA directs that the person is entitled to

an exemption from the rule, unless the “application of the burden to the

person—(1) is in furtherance of a compelling government interest; and

(2) is the least restrictive means of furthering that compelling govern-

mental interest.” Id. § 2000bb-1(b). For many of BCBSIL’s customers,

funding gender-affirming treatments—whether directly or indirectly—

would violate religious conscience. Because requiring those customers to

fund gender-affirming treatments is not the least restrictive means of

furthering a compelling government interest, RFRA protects those em-

ployers’ conscience rights by exempting their self-insured plans from the

mandate to fund such treatments. Yet the district court adopted an




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untenably narrow view of RFRA and ignored these protections. That er-

ror independently necessitates reversal.

     A religious plan sponsor that chooses to exclude from coverage cer-

tain treatments that offend conscience engages in a religious exercise

protected by RFRA. See Burwell v. Hobby Lobby Stores, Inc., 573 U.S.

682, 710 (2014) (“[E]xercise of religion” includes “[b]usiness practices that

are compelled or limited by the tenets of a religious doctrine.”). Here, both

C.P. and Jones belonged to the Catholic Health Initiatives’s self-funded

plan. That plan excluded “gender reassignment surgery” from coverage

because “this surgery has been determined not to align with the teach-

ings and doctrine of the Catholic Church.” 2-ER-205; see also 2-ER-321.

RFRA protects CHI’s choice to exclude coverage of such surgery and other

gender-affirming treatments, just as it protects BCBSIL’s many other re-

ligious customers’ conscience-based exclusions.

     The application of Section 1557 to prevent BCBSIL or any TPA from

effectuating that religious exclusion “substantially burden[s]” customers’

free-exercise right not to provide coverage. See Navajo Nation v. U.S. For-

est Serv., 535 F.3d 1058, 1069–70 (9th Cir. 2008) (en banc) (coercion “to

act contrary to their religious beliefs” imposes a substantial burden). In



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the proceedings below, Plaintiffs did not argue otherwise. 5-ER-1062–63.

Nor could they. Courts discharge a “narrow function” when evaluating

whether a given action imposes a substantial burden: merely ensuring

that the customers’ belief that it is “immoral for them to provide the cov-

erage” “reflects ‘an honest conviction.’” Hobby Lobby, 573 U.S. at 724–25

(quoting Thomas v. Rev. Bd. of Ind. Emp. Sec. Div., 450 U.S. 707, 716

(1981)). Plaintiffs have never accused BCBSIL’s religious customers of

lacking an honest conviction.

     Plaintiffs instead argued that the application of Section 1557 to pro-

hibit the exclusion of gender-affirming care from ERISA self-insured

plans is the least restrictive means of furthering a compelling govern-

mental interest. 5-ER-1062–63. “The least-restrictive-means standard is

exceptionally demanding.” Hobby Lobby, 573 U.S. at 728. Even assuming

arguendo that the government has a compelling interest in ensuring that

beneficiaries of ERISA self-funded plans can access gender-affirming

care, forcing TPAs to override exclusions to the objection of religious cus-

tomers is not the “least restrictive means” toward that end. As the Su-

preme Court acknowledged in Hobby Lobby, the “most straightforward

way” of guaranteeing access to a particular medical service “would be for



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the Government to assume the cost of providing” the service. Id. Such a

means “would certainly be less restrictive of [the customers’] religious

liberty” than the mandate imposed by the district court. Id. In the context

of the comprehensive Affordable Care Act, “the cost of such a program

would be ‘minor.’” Little Sisters of the Poor Saints Peter & Paul Home v.

Pennsylvania, 140 S. Ct. 2367, 2394 (2020) (Alito, J., concurring) (quoting

Hobby Lobby, 573 U.S. at 729).

     Plaintiffs attempted to overcome the clear viability of an alterna-

tive, less restrictive means of providing gender-affirming care by recast-

ing the compelling interest at a higher level of abstraction. Plaintiffs

framed the purported compelling interest as the government’s interest in

“eradicating invidious discrimination in health care.” 5-ER-1062. But Su-

preme Court precedent forecloses that maneuver. When applying RFRA,

courts are required to “look[] beyond broadly formulated interests justi-

fying the general applicability of government mandates” and to instead

scrutinize “the marginal interest in enforcing [the religion-burdening

law] in these cases.” Gonzales v. O Centro Espirita Beneficente Uniao do

Vegetal, 546 U.S. 418, 431 (2006); Hobby Lobby, 573 U.S. at 727; see also

Holt v. Hobbs, 574 U.S. 352, 363 (2015). The “marginal interest” in



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enforcing Section 1557 here—and thus the only potentially cognizable

compelling state interest—is in ensuring access to gender-affirming care

with limited or no cost-sharing. Cf. Hobby Lobby, 573 U.S. at 726–27 (re-

jecting notion that relevant government interest was in promotion of

“gender equality” rather than “ensuring that all women have access to all

FDA-approved contraceptives without cost-sharing”); Religious Sisters of

Mercy v. Azar, 513 F. Supp. 3d 1113, 1148 (D.N.D. 2021) (rejecting pro-

posed interest “in ensuring nondiscriminatory access to healthcare” as

too broad), aff’d in part, remanded in part sub nom. Religious Sisters of

Mercy v. Becerra, 55 F.4th 583 (8th Cir. 2022). Plaintiffs’ proposed anti-

discrimination interest is too “broadly formulated” to be applied under

RFRA, and the properly formulated interest can be accomplished by less

restrictive means.

     RFRA thus requires an exception to the generally applicable Sec-

tion 1557. 42 U.S.C. § 2000bb-1(b). Even if Plaintiffs are correct in all

their other arguments and Section 1557 prohibits the exclusion of gen-

der-affirming care from ERISA plans’ covered benefits, Section 1557 can-

not be applied to mandate that plan sponsors effectively renounce their




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religious objections. Simply put, there are less restrictive means of

achieving any legitimate compelling government interest.

     The district court, however, engaged in none of this analysis of sub-

stantial burdens, compelling interests, or least restrictive means. In-

stead, the district court declared RFRA immaterial to this case because

RFRA “does not apply to disputes between private parties.” 1-ER-74 (cit-

ing Sutton v. Providence St. Joseph Med. Ctr., 192 F.3d 826, 839 (9th Cir.

1999)). In Sutton, however, this Court merely held that RFRA’s cause of

action did not enable suits against private parties not acting under color

of federal law. 192 F.3d at 834–36. But RFRA is not just a cause of action;

it is also a “super statute” or principle of interpretation that “carve[s] out

a religious exemption from otherwise neutral, generally applicable laws.”

Bostock, 590 U.S. at 682; Guam v. Guerrero, 290 F.3d 1210, 1220 (9th Cir.

2002). And that super statute applies in cases between two non-govern-

mental parties.

     RFRA’s dual functions as a super statute and as a cause of action

follow from RFRA’s two distinct but complementary purposes, each codi-

fied in law. First, RFRA seeks “to restore the compelling interest test …

and to guarantee its application in all cases where free exercise of religion



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is substantially burdened.” 42 U.S.C. § 2000bb(b)(1) (emphasis added).

Second, RFRA “provide[s] a claim or defense to persons whose religious

exercise is substantially burdened by government.” Id. § 2000bb(b)(2). To

effectuate the latter purpose, RFRA expressly creates a cause of action

by which persons whose religious exercise has been burdened may “ob-

tain appropriate relief against a government.” Id. § 2000bb-1(c). This is

the cause of action that is the focus of Sutton.

     To effectuate the former purpose—i.e., to restore the compelling in-

terest test “in all cases” where free exercise is burdened—RFRA declares

that its provisions “appl[y] to all Federal law, and the implementation of

that law, whether statutory or otherwise” and whether adopted before or

after RFRA. Id. § 2000bb-3(a). RFRA also creates a clear-statement rule

for all laws enacted after it. Laws enacted after RFRA are “subject to” its

limitations “unless such law explicitly excludes” those limitations by

making “reference to this chapter.” Id. § 2000bb-3(b).

     The Supreme Court has interpreted these provisions applying

RFRA “to all Federal law” and creating a clear-statement rule for all later

legislation as meaning that RFRA “displac[es] the normal operation of

other federal laws.” Bostock, 590 U.S. at 682; see also Apache Stronghold



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v. United States, 95 F.4th 608, 629 (9th Cir. 2024) (en banc) (“Congress

also made clear its intent that RFRA operate as a framework statute,

‘displacing the normal operation of other federal laws.’” (citation omit-

ted)); Korte v. Sebelius, 735 F.3d 654, 673 (7th Cir. 2013) (“RFRA is struc-

tured as a ‘sweeping “super-statute,” cutting across all other federal stat-

utes (now and future, unless specifically exempted) and modifying their

reach.’”) (quoting Michael Stokes Paulsen, A RFRA Runs Through It: Re-

ligious Freedom and the U.S. Code, 56 Mont. L. Rev. 249, 253 (1995));

Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114, 1157 (10th Cir. 2013)

(Gorsuch, J. concurring), aff’d sub nom. Burwell v. Hobby Lobby Stores,

Inc., 573 U.S. 682 (2014) (similar).

     Because RFRA is a “super statute,” RFRA informs the interpreta-

tion and application of existing laws even when no party invokes the

RFRA cause of action against the government. See, e.g., United States v.

Bauer, 84 F.3d 1549, 1558–59 (9th Cir. 1996) (RFRA modifies federal

criminal law); Hankins v. Lyght, 441 F.3d 96, 103 (2d Cir. 2006) (RFRA

amends the Age Discrimination in Employment Act); In re Young, 141

F.3d 854, 861 (8th Cir. 1998) (“RFRA is an appropriate means by Con-

gress to modify the United States bankruptcy laws ….”); EEOC v. Cath.



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Univ. of Am., 83 F.3d 455, 457 (D.C. Cir. 1996) (RFRA modifies Title VII

of the Civil Rights Act); see also Worldwide Church of God v. Philadelphia

Church of God, Inc., 227 F.3d 1110, 1121 (9th Cir. 2000) (assuming with-

out deciding that RFRA modifies copyright law). Here, that means RFRA

affects the understanding of Section 1557. See Little Sisters, 140 S. Ct. at

2383 (holding the ACA does not trigger RFRA’s clear-statement rule).

     The district court rejected BCBSIL’s argument that “Section 1557

and RFRA must be read together” because “in this case RFRA does not

apply, Section 1557 does.” 1-ER-75. But that explanation addresses only

whether RFRA’s cause of action applies, not the important super-statute

function RFRA also plays. Bostock, 590 U.S. at 682. Importantly,

Hankins, Young, Catholic University, and Worldwide Church of God each

considered RFRA in a “dispute[] between private parties.” 1-ER-74. Con-

trary to the district court, RFRA does not allow federal law to substan-

tially burden religion so long as private plaintiffs enforce that law; it ap-

plies to “all Federal law[s].” 42 U.S.C. § 2000bb-3(a); see also Hankins,

441 F.3d at 103 (applying RFRA in ADEA suit between private parties

because “the substance of the ADEA’s prohibitions cannot change




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depending on whether it is enforced by the EEOC or an aggrieved private

party”).

      The application of Section 1557 at issue here does not satisfy strict

scrutiny and thus is displaced by RFRA. The district court erred by re-

ducing RFRA’s protections so that they apply only in lawsuits against the

government.

IV.   The Plan Exclusions Direct BCBSIL to Consider Medical
      Diagnosis, Not to Discriminate on the Basis of Sex.

      The Supreme Court held in Bostock v. Clayton County that discrim-

ination based on transgender status is discrimination “on the basis of

sex.” 590 U.S. at 654; see also Doe v. Snyder, 28 F.4th 103, 114 (9th Cir.

2022). Here, because the injunction affects just those categorical exclu-

sions of health care services “administered or prescribed for the treat-

ment of gender dysphoria,” 1-ER-25, the relevant question (which one

reaches only if the Court rejects all of BCBSIL’s other arguments on the

merits) is whether a plan designer’s exclusion of treatment for gender

dysphoria discriminates based on transgender status in a way that

matches the reason why the Supreme Court ruled that employment dis-

crimination based on transgender status is employment discrimination

based on sex.


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     The district court reasoned that such exclusions discriminate on the

basis of sex because the “trigger for application of the [e]xclusion and a

denial of coverage [i]s a diagnosis of ‘gender dysphoria.’” 1-ER-67. Yet, as

that remark demonstrates, the plan exclusions apply on the basis of med-

ical diagnosis (i.e., whether the treatments are prescribed for gender dys-

phoria) not on the basis of transgender status. When BCBSIL applied

these exclusions, the beneficiary’s medical diagnosis was the only consid-

eration, not the patient’s sex or gender identity.

     The district court leapt from medical diagnosis to transgender sta-

tus because, according to the court, “gender dysphoria cannot be under-

stood without referencing sex or a synonym.” Id. But Bostock does not say

that discrimination is sex-based whenever the distinction references sex

or gender. Cf. L.W. ex rel. Williams v. Skrmetti, 83 F.4th 460, 482 (6th

Cir. 2023) (“A law does not classify based on sex whenever it uses sex-

related language.”) (cleaned up), cert. dismissed in part sub nom. Doe v.

Kentucky, 144 S. Ct. 389 (2023). Rather, Bostock held that discrimination

based on transgender status is sex discrimination because such discrim-

ination “necessarily and intentionally applies sex-based rules.” 590 U.S.

at 667 (emphasis added). The Court in Bostock considered “an employer



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who fires a transgender person who was identified as a male at birth but

who now identifies as a female.” Id. at 660. “If the employer retains an

otherwise identical employee who was identified as female at birth, the

employer intentionally penalizes a person identified as male at birth for

traits or actions that it tolerates in an employee identified as female at

birth.” Id. In other words, what makes employment discrimination on the

basis of transgender status discrimination on the basis of sex is that dis-

crimination on the basis of transgender status necessarily tolerates

“traits or actions” from individuals of one sex but not from the other.

     Denying certain treatments prescribed for a diagnosis of gender

dysphoria lacks that necessary aspect of sex discrimination as the Su-

preme Court understood it in Bostock. The denial does not depend on the

relationship between the individual’s “traits or actions” and their sex as-

signed at birth. Rather, the denial depends entirely on the cited medical

diagnosis. Take the Vantas implant sought by C.P. or the puberty block-

ers sought by S.L. Under their plan exclusions, hormone therapies in-

cluding these can be provided to treat advanced prostate cancer, endome-

triosis, or central precocious puberty but not gender dysphoria. See 5-ER-

1024 (acknowledging the plans “cover[] most services for gender-



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affirming care when provided for other conditions”) (emphasis added).

Thus, BCBSIL will approve a medically necessary hormone therapy as a

treatment for advanced prostate cancer regardless of whether the patient

is cisgender or transgender, male, female, or nonbinary. All these classes

can access the same treatments for the same set of qualifying medical

indications. And BCBSIL will deny those therapies if prescribed as a

treatment for gender dysphoria, no matter the individual’s “traits or ac-

tions” or sex assigned at birth. In short, the exclusion for gender dyspho-

ria diagnosis does not apply “sex-based rules” like those essential to ra-

tionale of Bostock. It is not sex discrimination.

     That was the reasoning the Sixth Circuit applied in L.W. Relying in

part on Bostock, the plaintiffs alleged that a Tennessee law prohibiting

healthcare providers from performing gender-affirming care on minors

discriminated on the basis of sex in violation of the Equal Protection

Clause. The court distinguished Bostock because “[i]n Bostock, the em-

ployers fired adult employees because their behavior did not match ste-

reotypes of how adult men or women dress or behave,” but the Tennessee

law “do[es] not deny anyone general healthcare treatment based on any

such stereotypes.” L.W., 83 F.4th at 485. Rather, like here, the concern is



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about a particular set of treatments (gender-affirming care) for a partic-

ular diagnosis (gender dysphoria). “A concern about potentially irreversi-

ble medical procedures for a child is not a form of stereotyping.” Id.4

     The district court’s statement (albeit not based on evidence in the

record) that “[a] person cannot suffer from gender dysphoria without

identifying as transgender” does not salvage the court’s reasoning. 1-ER-

68 (quoting Fain v. Crouch, 618 F. Supp. 3d 313, 324–25 (S.D. W. Va.

Aug. 2, 2022)). Even if true, the exclusions would still allow transgender

individuals to access the excluded treatments under other diagnostic

codes. The available treatment does not vary based on anyone’s sex or




4 Adopting the Sixth Circuit’s reasoning distinguishing Bostock will not

require this Court to agree with the Sixth Circuit as to the constitutional
propriety of state laws limiting the provision of gender-affirming care to
minors. In the first place, the Civil Rights Act’s prohibitions on discrimi-
nation are distinct from the Equal Protection Clause’s. See Students for
Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 600 U.S.
181, 308 (2023) (Gorsuch, J., concurring) (comparing the text of Title VI
and the Equal Protection Clause and concluding “[t]hat such differently
worded provisions should mean the same thing is implausible on its
face.”). In addition, while the Sixth Circuit rejects the notion that
transgender individuals are a quasi-suspect class, finding instead that
the rational basis test applies to statutory classifications based on gender
identity, L.W., 83 F.4th at 486, the Ninth Circuit holds that “transgender
status” is a “quasi-suspect class” meriting intermediate scrutiny, Karno-
ski v. Trump, 926 F.3d 1180, 1200–01 (9th Cir. 2019).

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gender identity. The district court’s reasoning thus lacks the connection

to sex-based discrimination identified by the Court in Bostock.

     Further, as the Supreme Court has established, treating a medical

condition differently is not intentional sex discrimination even if only one

sex is susceptible to it. See Gen. Elec. Co. v. Gilbert, 429 U.S. 125, 136

(1976) (“[A]n exclusion of pregnancy from a disability-benefits plan

providing general coverage is not a gender-based discrimination,” except

where the exclusion “is a mere pretext designed to effect an invidious

discrimination against members of one sex or the other”) (cleaned up)

(discussing Geduldig v. Aiello, 417 U.S. 484, 496–97 & n.20 (1974));

Dobbs v. Jackson Women’s Health Org., 597 U.S. 215, 236 (2022) (limita-

tions on “a medical procedure that only one sex can undergo” is not a “sex-

based classification” subject to heightened scrutiny). For the same rea-

sons, treating a medical condition differently is not intentional sex dis-

crimination even if only one gender identity is susceptible to it.

     The exclusion of treatment for gender dysphoria does not discrimi-

nate based on transgender status in a way that matches the “sex-based

rules” essential to the decision in Bostock. Thus, Bostock (and Section




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1557) does not prohibit plan sponsors from adopting exclusions that turn

on the medical diagnosis of gender dysphoria.




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                               CONCLUSION

       For the foregoing reasons, the judgment of the district court should

be reversed with instructions to enter summary judgment for the Defend-

ant.

Date: April 12, 2024


                                     /s/ Robert N. Hochman
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Date: April 12, 2024



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     I hereby certify that on April 12, 2024, I electronically filed the fore-

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Date: April 12, 2024


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Civil Rights Restoration Act of 1987, 20 U.S.C. § 1687.

20 U.S.C. § 1687. Interpretation of “program or activity”

For the purposes of this chapter, the term “program or activity” and “pro-

gram” mean all of the operations of--

     (1)(A) a department, agency, special purpose district, or other in-

  strumentality of a State or of a local government; or

     (B) the entity of such State or local government that distributes

  such assistance and each such department or agency (and each other

  State or local government entity) to which the assistance is extended,

  in the case of assistance to a State or local government;

     (2)(A) a college, university, or other postsecondary institution, or a

  public system of higher education; or

     (B) a local educational agency (as defined in section section1 7801

  of this title), system of vocational education, or other school system;

     (3)(A) an entire corporation, partnership, or other private organi-

  zation, or an entire sole proprietorship--

        (i) if assistance is extended to such corporation, partnership, pri-

     vate organization, or sole proprietorship as a whole; or



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        (ii) which is principally engaged in the business of providing ed-

     ucation, health care, housing, social services, or parks and recrea-

     tion; or

     (B) the entire plant or other comparable, geographically separate

  facility to which Federal financial assistance is extended, in the case

  of any other corporation, partnership, private organization, or sole

  proprietorship; or

     (4) any other entity which is established by two or more of the en-

  tities described in paragraph (1), (2), or (3);

any part of which is extended Federal financial assistance, except that

such term does not include any operation of an entity which is controlled

by a religious organization if the application of section 1681 of this title

to such operation would not be consistent with the religious tenets of such

organization.




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Employee Retirement Income Security Act, 29 U.S.C. § 1001 et
seq.

29 U.S.C. § 1104. Fiduciary duties

  (a) Prudent man standard of care

  (1) Subject to sections 1103(c) and (d), 1342, and 1344 of this title, a

fiduciary shall discharge his duties with respect to a plan solely in the

interest of the participants and beneficiaries and--

        (A) for the exclusive purpose of:

              (i) providing benefits to participants and their beneficiar-

           ies; and

              (ii) defraying reasonable expenses of administering the

           plan;

        (B) with the care, skill, prudence, and diligence under the cir-

     cumstances then prevailing that a prudent man acting in a like ca-

     pacity and familiar with such matters would use in the conduct of

     an enterprise of a like character and with like aims;

        (C) by diversifying the investments of the plan so as to minimize

     the risk of large losses, unless under the circumstances it is clearly

     prudent not to do so; and



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         (D) in accordance with the documents and instruments govern-

      ing the plan insofar as such documents and instruments are con-

      sistent with the provisions of this subchapter and subchapter III.

   (2) In the case of an eligible individual account plan (as defined in

section 1107(d)(3) of this title), the diversification requirement of para-

graph (1)(C) and the prudence requirement (only to the extent that it re-

quires diversification) of paragraph (1)(B) is not violated by acquisition

or holding of qualifying employer real property or qualifying employer

securities (as defined in section 1107(d)(4) and (5) of this title).

                                      ***

29 U.S.C. § 1144. Other laws

   (a) Supersedure; effective date

   Except as provided in subsection (b) of this section, the provisions of

this subchapter and subchapter III shall supersede any and all State laws

insofar as they may now or hereafter relate to any employee benefit plan

described in section 1003(a) of this title and not exempt under section

1003(b) of this title. This section shall take effect on January 1, 1975.

   (b) Construction and application




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   (1) This section shall not apply with respect to any cause of action

which arose, or any act or omission which occurred, before January 1,

1975.

   (2)(A) Except as provided in subparagraph (B), nothing in this sub-

chapter shall be construed to exempt or relieve any person from any law

of any State which regulates insurance, banking, or securities.

   (B) Neither an employee benefit plan described in section 1003(a) of

this title, which is not exempt under section 1003(b) of this title (other

than a plan established primarily for the purpose of providing death ben-

efits), nor any trust established under such a plan, shall be deemed to be

an insurance company or other insurer, bank, trust company, or invest-

ment company or to be engaged in the business of insurance or banking

for purposes of any law of any State purporting to regulate insurance

companies, insurance contracts, banks, trust companies, or investment

companies.

   (3) Nothing in this section shall be construed to prohibit use by the

Secretary of services or facilities of a State agency as permitted under

section 1136 of this title.




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  (4) Subsection (a) shall not apply to any generally applicable criminal

law of a State.

  (5)(A) Except as provided in subparagraph (B), subsection (a) shall

not apply to the Hawaii Prepaid Health Care Act (Haw.Rev.Stat. §§ 393-

1 through 393-51).

  (B) Nothing in subparagraph (A) shall be construed to exempt from

subsection (a)--

        (i) any State tax law relating to employee benefit plans, or

        (ii) any amendment of the Hawaii Prepaid Health Care Act en-

     acted after September 2, 1974, to the extent it provides for more

     than the effective administration of such Act as in effect on such

     date.

  (C) Notwithstanding subparagraph (A), parts 1 and 4 of this subtitle,

and the preceding sections of this part to the extent they govern matters

which are governed by the provisions of such parts 1 and 4, shall super-

sede the Hawaii Prepaid Health Care Act (as in effect on or after January

14, 1983), but the Secretary may enter into cooperative arrangements

under this paragraph and section 1136 of this title with officials of the

State of Hawaii to assist them in effectuating the policies of provisions of


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such Act which are superseded by such parts 1 and 4 and the preceding

sections of this part.

   (6)(A) Notwithstanding any other provision of this section--

         (i) in the case of an employee welfare benefit plan which is a

      multiple employer welfare arrangement and is fully insured (or

      which is a multiple employer welfare arrangement subject to an ex-

      emption under subparagraph (B)), any law of any State which reg-

      ulates insurance may apply to such arrangement to the extent that

      such law provides--

               (I) standards, requiring the maintenance of specified levels

            of reserves and specified levels of contributions, which any

            such plan, or any trust established under such a plan, must

            meet in order to be considered under such law able to pay ben-

            efits in full when due, and

               (II) provisions to enforce such standards, and

         (ii) in the case of any other employee welfare benefit plan which

      is a multiple employer welfare arrangement, in addition to this sub-

      chapter, any law of any State which regulates insurance may apply




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     to the extent not inconsistent with the preceding sections of this

     subchapter.

  (B) The Secretary may, under regulations which may be prescribed by

the Secretary, exempt from subparagraph (A)(ii), individually or by class,

multiple employer welfare arrangements which are not fully insured.

Any such exemption may be granted with respect to any arrangement or

class of arrangements only if such arrangement or each arrangement

which is a member of such class meets the requirements of section

1002(1) and section 1003 of this title necessary to be considered an em-

ployee welfare benefit plan to which this subchapter applies.

  (C) Nothing in subparagraph (A) shall affect the manner or extent to

which the provisions of this subchapter apply to an employee welfare ben-

efit plan which is not a multiple employer welfare arrangement and

which is a plan, fund, or program participating in, subscribing to, or oth-

erwise using a multiple employer welfare arrangement to fund or admin-

ister benefits to such plan's participants and beneficiaries.

  (D) For purposes of this paragraph, a multiple employer welfare ar-

rangement shall be considered fully insured only if the terms of the ar-

rangement provide for benefits the amount of all of which the Secretary


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determines are guaranteed under a contract, or policy of insurance, is-

sued by an insurance company, insurance service, or insurance organiza-

tion, qualified to conduct business in a State.

   (7) Subsection (a) shall not apply to qualified domestic relations orders

(within the meaning of section 1056(d)(3)(B)(i) of this title), qualified

medical child support orders (within the meaning of section 1169(a)(2)(A)

of this title), and the provisions of law referred to in section

1169(a)(2)(B)(ii) of this title to the extent they apply to qualified medical

child support orders.

   (8) Subsection (a) of this section shall not be construed to preclude any

State cause of action--

   (A) with respect to which the State exercises its acquired rights under

section 1169(b)(3) of this title with respect to a group health plan (as de-

fined in section 1167(1) of this title), or

   (B) for recoupment of payment with respect to items or services pur-

suant to a State plan for medical assistance approved under title XIX of

the Social Security Act which would not have been payable if such ac-

quired rights had been executed before payment with respect to such

items or services by the group health plan.


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   (9) For additional provisions relating to group health plans, see sec-

tion 1191 of this title.

   (c) Definitions

   For purposes of this section:

   (1) The term “State law” includes all laws, decisions, rules, regula-

tions, or other State action having the effect of law, of any State. A law of

the United States applicable only to the District of Columbia shall be

treated as a State law rather than a law of the United States.

   (2) The term “State” includes a State, any political subdivisions

thereof, or any agency or instrumentality of either, which purports to reg-

ulate, directly or indirectly, the terms and conditions of employee benefit

plans covered by this subchapter.

   (d) Alteration, amendment, modification, invalidation, impair-

ment, or supersedure of any law of the United States prohibited

   Nothing in this subchapter shall be construed to alter, amend, modify,

invalidate, impair, or supersede any law of the United States (except as

provided in sections 1031 and 1137(b) of this title) or any rule or regula-

tion issued under any such law.




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Religious Freedom Restoration Act, 42 U.S.C. § 2000bb et seq.

§ 2000bb. Congressional findings and declaration of purposes

  (a) Findings

  The Congress finds that--

  (1) the framers of the Constitution, recognizing free exercise of religion

as an unalienable right, secured its protection in the First Amendment

to the Constitution;

  (2) laws “neutral” toward religion may burden religious exercise as

surely as laws intended to interfere with religious exercise;

  (3) governments should not substantially burden religious exercise

without compelling justification;

  (4) in Employment Division v. Smith, 494 U.S. 872 (1990) the Supreme

Court virtually eliminated the requirement that the government justify

burdens on religious exercise imposed by laws neutral toward religion;

and

  (5) the compelling interest test as set forth in prior Federal court rul-

ings is a workable test for striking sensible balances between religious

liberty and competing prior governmental interests.

  (b) Purposes


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  The purposes of this chapter are--

  (1) to restore the compelling interest test as set forth in Sherbert v.

Verner, 374 U.S. 398 (1963) and Wisconsin v. Yoder, 406 U.S. 205 (1972)

and to guarantee its application in all cases where free exercise of religion

is substantially burdened; and

  (2) to provide a claim or defense to persons whose religious exercise is

substantially burdened by government.

§ 2000bb-1. Free exercise of religion protected

  (a) In general

  Government shall not substantially burden a person’s exercise of reli-

gion even if the burden results from a rule of general applicability, except

as provided in subsection (b) of this section.

  (b) Exception

  Government may substantially burden a person’s exercise of religion

only if it demonstrates that application of the burden to the person--

  (1) is in furtherance of a compelling governmental interest; and

  (2) is the least restrictive means of furthering that compelling govern-

mental interest.

  (c) Judicial relief


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  A person whose religious exercise has been burdened in violation of

this section may assert that violation as a claim or defense in a judicial

proceeding and obtain appropriate relief against a government. Standing

to assert a claim or defense under this section shall be governed by the

general rules of standing under article III of the Constitution.

                                     ***

  § 2000bb-3. Applicability

  (a) In general

  This chapter applies to all Federal law, and the implementation of that

law, whether statutory or otherwise, and whether adopted before or after

November 16, 1993.

  (b) Rule of construction

  Federal statutory law adopted after November 16, 1993, is subject to

this chapter unless such law explicitly excludes such application by ref-

erence to this chapter.

  (c) Religious belief unaffected

  Nothing in this chapter shall be construed to authorize any govern-

ment to burden any religious belief.

Section 1557 of the Patient Protection and Affordable Care Act,
42 U.S.C. § 18116.

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42 U.S.C. § 18116. Nondiscrimination

  (a) In general

  Except as otherwise provided for in this title (or an amendment made

by this title), an individual shall not, on the ground prohibited under title

VI of the Civil Rights Act of 1964 (42 U.S.C. 2000d et seq.), title IX of the

Education Amendments of 1972 (20 U.S.C. 1681 et seq.), the Age Dis-

crimination Act of 1975 (42 U.S.C. 6101 et seq.), or section 794 of Title

29, be excluded from participation in, be denied the benefits of, or be sub-

jected to discrimination under, any health program or activity, any part

of which is receiving Federal financial assistance, including credits, sub-

sidies, or contracts of insurance, or under any program or activity that is

administered by an Executive Agency or any entity established under

this title (or amendments). The enforcement mechanisms provided for

and available under such title VI, title IX, section 794, or such Age Dis-

crimination Act shall apply for purposes of violations of this subsection.

  (b) Continued application of laws

  Nothing in this title (or an amendment made by this title) shall be

construed to invalidate or limit the rights, remedies, procedures, or legal

standards available to individuals aggrieved under title VI of the Civil


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Rights Act of 1964 (42 U.S.C. 2000d et seq.), title VII of the Civil Rights

Act of 1964 (42 U.S.C. 2000e et seq.), title IX of the Education Amend-

ments of 1972 (20 U.S.C. 1681 et seq.), section 794 of Title 29, or the Age

Discrimination Act of 1975, or to supersede State laws that provide addi-

tional protections against discrimination on any basis described in sub-

section (a).

   (c) Regulations

   The Secretary may promulgate regulations to implement this section.




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Nondiscrimination on the Basis of Race, Color, National Origin,
Sex, Age, or Disability in Health Programs or Activities Receiv-
ing Federal Financial Assistance and Programs or Activities Ad-
ministered by the Department of Health and Human Services Un-
der Title I of the Patient Protection and Affordable Care Act or
by Entities Established Under Such Title, 45 C.F.R. Part 92.

§ 92.3 Scope of application.

  (a) Except as otherwise provided in this part, this part applies to

        (1) Any health program or activity, any part of which is receiving

     Federal financial assistance (including credits, subsidies, or con-

     tracts of insurance) provided by the Department;

        (2) Any program or activity administered by the Department un-

     der Title I of the Patient Protection and Affordable Care Act; or

        (3) Any program or activity administered by any entity estab-

     lished under such Title.

  (b) As used in this part, “health program or activity” encompasses all

of the operations of entities principally engaged in the business of provid-

ing healthcare that receive Federal financial assistance as described in

paragraph (a)(1) of this section. For any entity not principally engaged in

the business of providing healthcare, the requirements applicable to a

“health program or activity” under this part shall apply to such entity's



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operations only to the extent any such operation receives Federal finan-

cial assistance as described in paragraph (a)(1) of this section.

  (c) For purposes of this part, an entity principally or otherwise en-

gaged in the business of providing health insurance shall not, by virtue

of such provision, be considered to be principally engaged in the business

of providing healthcare.

  (d) Any provision of this part held to be invalid or unenforceable by its

terms, or as applied to any person or circumstance, shall be construed so

as to continue to give maximum effect to the provision permitted by law,

unless such holding shall be one of utter invalidity or unenforceability, in

which event the provision shall be severable from this part and shall not

affect the remainder thereof or the application of the provision to other

persons not similarly situated or to other, dissimilar circumstances.




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